                   AUTHORIZATION BY PATIENT FOR RELEASE OF MEDICAL INFORMATION



THIS AUTHORIZATION FORM IS COMPLIANT WITH TENNESSEE AND FEDERAL PRIVACY LAWS, INCLUDING
THE HEALTH INSURANCE PORTABILITY AND ACCOUNTABILITY ACT.

Section A:

I, the individual identified below, hereby authorize the use or disclosure of my individually identifiable health
information as described below. I understand that if the organization authorized to receive the information is not a
health plan or health care provider, the released information may no longer be protected by federal privacy regulations.

  Patient name: CHRISTIE ANDREWS                                    Social Security Number:
                                                                    Date of Birth:
  Persons/organizations authorized to receive the information:      Personal Organizations authorized to disclose
                                                                    information include:
  The Swafford Law Firm, PLLC                                       Doctors, hospitals, psychiatric or psychological
  321 Billingsly Court, Suite 19                                    facilities, any and all health care facilities, long
  Franklin, TN 37067                                                term care facilities, drug stores, nursing homes,
                                                                    out-patient care facilities, medical laboratories,
  OR THEIR REPRESENTATIVE                                           and ambulance services and providers and any
                                                                    medical billing facilities for any of the above.

Specific description of information (including dates(s)) authorized for release: Copies of any and all records,
opinions, notes, reports, x-rays, charts summaries, abstracts, psychiatric or psychological or venereal disease test
results, invoices, statements or other documents, records or information in your custody or control (collectively, the
"records") arising from such examinations, care, treatment, counseling, or testing of the individual from January 1, 2015
2016 through Current. The above firm's agents and employees are also authorized to inspect the originals of all such
records.

What is the purpose of the use or disclosure?: For use solely for the purpose of defending the litigation brought
by the patient or involving the patient.




Section B:

The patient or the patient's representative must read the following statements:

1. Unless otherwise revoked, I understand that this authorization will expire on the later of December 31, 2025 or with
the following event: at the conclusion of this case, whether by trial, settlement or other conclusion.
2. I understand that I may revoke this authorization at any time by notifying the providing organization in writing, but
such revocation will only be effective from the date it is received and will not apply to information that has already been
released in response to this authorization.
3. Your health care provider or health plan will not prohibit or prevent your treatment, payment, enrollment in a health
plan or eligibility for benefits if you refuse to sign this authorization.
4. A photocopy of this authorization has the same force and effect as the original executed authorization.
5. I understand that I will be given a copy of this authorization form after it is signed.

________________________________________                           __________________________________________
Signature of patient or patient's representative                                      Date
(Form MUST be completed before signing.)

Printed name of patient or patient's representative:

Description of such representative's authority to act for the patient, if applicable:   _______________________




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